Case 2:22-cv-01799-GW-JC Document 16 Filed 05/31/22 Page 1 of 1 Page ID #:419



   1

   2
                                                                           JS-6
   3

   4

   5

   6

   7

   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10

  11   DISCOUNT ELECTRONICS,                  Case No. CV 22-1799-GW-JCx
       INC.,
  12
                          Plaintiff,
  13                                            ORDER TO DISMISS WITH
             v.                                 PREJUDICE
  14
       WESCO INSURANCE
  15
       COMPANY, et al.,
  16
                          Defendants.
  17

  18

  19        Based upon the stipulation between the parties and their respective counsel,
  20 it is hereby ORDERED that this action is dismissed with prejudice in its entirety.

  21 Each party will bear its own attorneys’ fees and expenses.

  22        IT IS SO ORDERED.
  23

  24 Dated: May 31, 2022

  25
                                            _________________________________
  26                                        HON. GEORGE H. WU,
                                            UNITED STATES DISTRICT JUDGE
  27

  28
